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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA

                          CASE NO. 16-23148-CV-WILLIAMS

   UNITED STATES OF AMERICA

         v.

   PHILIP ESFORMES
   ______________________________/

     MOTION TO MODIFY PRELIMINARY INJUNCTION TO RELEASE
      FUNDS FOR LEGAL FEES AND EXPENSES THROUGH TRIAL

         With the parallel criminal trial before Judge Scola now set to begin on February

   11, 2019, Case No. 16-20549-RNS, Esformes moves the Court to modify the

   Stipulated Preliminary Injunction, DE#217, to authorize the further release of assets for

   the limited purpose of funding his legal defense through trial, consistent with this

   Court’s Order, DE#218:2:¶4, which provides:

         If at any point in time Mr. Esformes seeks funds in addition to the funds
         referenced in paragraph 1, he would need to file a motion with the Court
         explaining why more fees are reasonable to justify the release of
         additional substitute assets. The government would have the opportunity
         to object to any such request.

                                     BACKGROUND

         1. Upon the return of the original Indictment against Esformes in the parallel

   criminal case, in July 2016 the government initiated this civil case pursuant to 18

   U.S.C. § 1345 and obtained, ex parte, a temporary restraining order (TRO) that
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   enjoined Esformes from transferring any moneys “that are proceeds or profits from the

   Defendant’s federal health care offenses or property of an equivalent value of such

   proceeds or profits (except as limited by Luis v. United States, 136 S. Ct. 1083

   (2016).” DE#11:3 (emphasis added).

         2. This Court’s TRO provided that “any request by the Defendant for the release

   of assets frozen by this TRO for the purpose of retaining criminal counsel of choice

   ...will be considered by the Court in accordance with applicable law, including the

   decision in Luis.” DE#11:3.

         3. In Luis, the Supreme Court held that “the pretrial restraint of legitimate,

   untainted assets needed to retain counsel of choice violates the Sixth Amendment.” 136

   S. Ct. at 1088. “The defendant ... has a Sixth Amendment right to use her own

   “innocent” property to pay a reasonable fee for the assistance of counsel.” Id. at 1096

   Thus, by its terms, this Court’s TRO contemplated that Esformes might seek to release

   untainted assets (i.e., “property of an equivalent value” ) to retain counsel of choice.

         4. Since the entry of the TRO in July 2016 through August 2018–a period of

   approximately 24 months–Esformes did not seek any relief from the restraining order

   to fund his legal defense, even while the government superseded the indictment three

   times. Instead, he relied on his father, who advanced the fees and expenses of litigating

   against the government while Esformes remained pretrial detained. The complexity of

   the litigation is evident from a review of the criminal docket. Suffice it to say that the
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   government has described this prosecution as the biggest Medicare fraud case in the

   history of the United States.

         5. Over the course of the 24 months following the entry of the TRO, the parties

   agreed to extend the TRO, while Esformes moved to dismiss the indictment and

   disqualify the prosecution team. DE#98. Evidentiary hearings ensued, during which

   Esformes’s counsel of record, Michael Pasano, filed a motion to withdraw from

   representing Esformes as trial counsel, Crim-DE#689, concerned that he might be

   needed as a witness. Judge Scola granted that motion. Crim-DE#691. At a status

   conference in January 2018, undersigned assured Judge Scola that undersigned would

   be “assuming those responsibilities” even though undersigned had not made a

   permanent appearance in the case. Crim-DE#769:9-10

         6. In July 2018, the government obtained a Third Superseding Indictment that

   added new charges (e.g., bribery of a university basketball coach to gain Esformes’s

   son admission to the university, bribery of an ACHA official, and false statements),

   Crim-DE#869, but retreated from its headline-grabbing allegation of $1 billion in fraud,

   instead shifting focus to allegations of a “massive intricate kickbacks system that

   underlay the Esformes Network.” Crim-DE#1035:4, 16

         7.   In August 2018, Magistrate Judge Otazo-Reyes issued a Report and

   Recommendation on Esformes’s motions to dismiss and disqualify, finding
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   prosecutorial misconduct and “deplor[ing] the prosecution team’s attempts to obfuscate

   the record.” Crim-DE#899 (August 10, 2018). Thereafter, the parties entered into

   discussions to resolve this civil proceeding without the need for an injunction hearing.

   The parties jointly filed a Stipulation as to Entry of Preliminary Injunction and Joint

   Motion for Release of Certain Funds for Attorney’s Fees, DE#216, which the Court

   adopted on November 13, 2018. DE#218.1 A six-paragraph companion order provided,

   in relevant part, that

              1. The Court will release from the scope of the TRO checks in
                 possession of A. Norman Knopf totaling approximately $2.8
                 million for the sole purpose of criminal defense legal services,
                 including for trial, beginning as of August 27, 2018 (i.e. fees and
                 related expenses) on behalf of Philip Esformes (“Released Funds”).
                 ***
              2. The Court will monitor the use of those funds by monthly
                 submission, on an ex parte basis, of invoices for legal services. The
                 government has no objection to the rates set forth in the schedule
                 previously provided to the government by email dated August 21,
                 2018, for the purpose of this resolution only; the government does
                 not otherwise concede the reasonableness of these rates. ***
              3. Within five calendar days of the entry of an Order on this Motion,
                 A. Norman Knopf [Esformes’s long-time accountant and lawyer]



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     On that same date, Judge Scola entered an order declining to adopt the credibility findings of the
   Magistrate’s Report but still ruled that “the Government may not introduce any tapes in which
   attorneys are present or any portions of the conversations in which the parties discuss legal strategy
   as to Esformes’s alleged health care scheme.” Judge Scola concluded that the government acted “with
   disregard for potential privilege issues after the Eden Gardens search.*** Although the prosecution
   team operated in good faith, their execution of their duties was often sloppy, careless, clumsy,
   ineffective, and clouded by their stubborn refusal to be sufficiently sensitive to issues impacting the
   attorney client privilege.” Crim-DE#975:35, 49.
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                     will provide the government with a declaration listing Mr.
                     Esformes’ assets....
                 4. If at any point in time Mr. Esformes seeks funds in addition to the
                    funds referenced in paragraph 1, he would need to file a motion
                    with the Court explaining why more fees are reasonable to justify
                    the release of additional substitute assets. The government would
                    have the opportunity to object to any such request.
   DE#218:1-2.
             8. Since the entry of the Stipulated Injunction and companion Order, A. Norman

   Knopf timely provided the government with a declaration listing Mr. Esformes’ assets.

   Mr. Esformes’s legal team submitted to the Court on an ex parte basis, the monthly

   invoices for fees and expenses. After payment of the approved invoices through

   December 2018, there remains $546,886.34 of Released Funds, which will be depleted

   (with an unpaid balance remaining) if the January 2019 invoices are approved for

   payment.2

             9. On January 5, 2019, the government filed its witness list in the criminal case

   identifying 79 witnesses. Crim-DE#1019. Since then, the government has informed

   undersigned of others; today the government advised that the co-defendant who pled

   guilty last week will testify for the government.

             10. On January 28, 2019, Judge Scola held a hearing regarding various motions,

   including Esformes’s request for a continuance in light of the government providing



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       The precise total of Released Funds placed in the special Esformes trust account was $2,796,865.50.
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   recent notice that it intends to present evidence regarding a subset of patients different

   than those who were identified by the government two years ago. See Joint Motion to

   Exclude Testimony and Argument Regarding Lack of Medical Necessity as to Patients

   Not Identified in the Third Superseding Indictment, Crim-DE#1013; see also

   Defendant’s Response to Government’s Motion to Quash and to Limit Discovery,

   DE#190:8 (“On November 22, 2016, the government served a subpoena on Esformes’

   skilled nursing and assisted living facilities demanding production of patient medical

   records for 198 patients. The government explained at a hearing held on April 18, 2017,

   that those files were the only ones it would introduce at the criminal trial.”). Judge

   Scola denied the continuance. Crim-DE#1064.

         11. Thereafter, undersigned counsel notified the government (AUSA Torres and

   AUSA Elliott) of these circumstances and has proposed that the Government consent

   to the further release of untainted assets for legal fees and expenses through trial under

   the same conditions currently in place (i.e., same rates, same approval process). The

   government has indicated that it will oppose this motion.

                                  RELIEF REQUESTED

         12. Esformes submits that the current conditions for payment of legal fees and

   expenses from untainted assets are “reasonable” within the meaning of Luis, given the

   enormity of this case. By our count there have been more than ten federal prosecutors
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   and more than twenty federal/state agents who have been working to convict Esformes.

   The government has listed 79 witnesses for trial. Esformes did not expend any of the

   restrained assets for the first 24 months of litigation. Esformes seeks to have his legal

   team compensated for their time in defending him at the trial on the Third Superseding

   Indictment, on an hourly basis, at commercially reasonable rates that his legal team

   charges other similarly situated clients–all subject to judicial review prior to payment.

         12. Esformes requests that this matter be set for a status conference (hearing)

   as soon as practical.

                             CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on January 31, 2019, I filed the foregoing

   document with the Clerk of the Court and all counsel of record using CM/ECF.

                              Respectfully submitted,

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